             Case 8:20-cr-00229-PX Document 61 Filed 07/02/21 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *        CRIMINAL NO. PX 20-229
                                                *
 KEVIN ALEXIS RODRIGUEZ-                        *
 FLORES                                         *
                                                *
                                                *
                  Defendant                     *
                                                *
                                             *******


                    GOVERNMENT’S SENTENCING MEMORANDUM

       Comes Now the United States of America, by Jonathan F. Lenzner, its Acting United States

Attorney for the District of Maryland, and William D. Moomau and Erin B. Pulice, Assistant

United States Attorneys, and files this sentencing memorandum for the purpose of informing the

Court that the Government anticipates requesting a sentence of 420 months imprisonment for the

defendant.

          I.      PROCEDURAL BACKGROUND AND CRIME OF CONVICTION

       On April 20, 2021, the defendant entered a guilty plea to Counts One and Two of the

Superseding Indictment charging him with Conspiracy to Participate in a Racketeering Enterprise

in violation of 18 U.S.C. § 1962(d) and Conspiracy to Destroy and Conceal Evidence in violation

of 18 U.S.C. § 1512(k). Sentencing is scheduled for July 19, 2021 at 10:00 a.m.

                        II.    FACTS IN SUPPORT OF CONVICTION

       In the factual stipulation to the plea agreement, the defendant agreed that MS-13, including

its leadership, members and associates, was an “enterprise” as defined in Section 1961(4) and

1959(b)(2) of Title 18, United States Code; and, that he was a member of MS- 13. Further, the

                                                1
           Case 8:20-cr-00229-PX Document 61 Filed 07/02/21 Page 2 of 5



defendant stipulated that members of MS-13 are expected to protect the status of MS-13 against

rival gang members known as “chavalas.” In addition, the defendant agreed that the commission

of acts of violence by MS-13 members against rivals increased the respect accorded to such

members.

       Finally, in reference to his specific conduct, the defendant admitted to taking part in the

murder of Victim-1, a MS-13 member who was suspected of cooperating with law enforcement.

Victim-1 was 16 years old when he was brutally beaten, stabbed, and cut by his fellow gang

members, over the mistaken belief that he was working with police. Prior to his life being taken,

Victim-1 was stabbed and cut some 144 times by persons, including the defendant, that he believed

were his friends. The killing took place during an MS-13 clique meeting in the home of the clique

leader. After killing Victim-1, the clique members, including the defendant, attempted to conceal

and destroy evidence of the murder, by removing evidence at the home, and by taking the body of

Victim-1 to a secluded location in Stafford County, Virginia, where the body was set on fire.

                           III.   ADVISORY GUIDELINES RANGE

       According to the plea agreement and the Presentence Report (PSR), the final offense level

for Count One is 42. With a criminal history category of I, the defendant’s advisory guidelines

range is 360 months to life imprisonment.

       The plea agreement entered into between the Government and the defendant was entered

into pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure.        By the plea

agreement, the Government and the defendant have agreed to a sentence within the advisory

guidelines range of 360 months to life imprisonment.




                                                2
             Case 8:20-cr-00229-PX Document 61 Filed 07/02/21 Page 3 of 5



   IV.       ANALYSIS OF SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

         Under 18 U.S.C. § 3553(a), the Court shall impose a sentence sufficient, but not greater

than necessary, after considering various factors relevant to the crimes of conviction and the

defendant.     Government counsel has considered these factors in making its sentencing

recommendation, which factors include those set forth below.

Nature and Circumstance of the Offense

         The Defendant’s participation in the murder of Victim-1, a fellow MS-13 member

suspected of cooperating with law enforcement, and the subsequent coverup of the crime, ranks

as the most serious. In addition, in terms of MS-13 murders seen by Government counsel since

2008, this murder unfortunately would be categorized in the upper level of violence perpetrated.

History and Characteristics of the Defendant

         The Presentence Report contains background information about the defendant.         The

defendant is from El Salvador originally and came to this country in 2016. He resided with his

mother in New Jersey until coming to Virginia in or around 2018, approximately a month before

the crime.

The Need for the Sentence

         The sentence to be imposed must address the MS-13 RICO activity of the defendant and

the crimes committed.       The factors related to deterrence, respect for the law, community

protection, corrective treatment and avoiding unwarranted sentencing disparities, call for a

substantial sentence.    In addition, based upon the circumstances of the crime, the sentence

requested in consistent with other sentences imposed by the Court for defendants involved in like

conduct.




                                                3
           Case 8:20-cr-00229-PX Document 61 Filed 07/02/21 Page 4 of 5



                                     V.         RESTITUTION

       The mother of Victim-1 provided Government counsel with copies of invoices representing

sums paid in reference to the death of her son. Copies of these invoices, which total $1844, are

being provided to defense counsel. Assuming these invoices include all restitution eligible

payments, Government counsel believes that an agreement will be reached as to the amount of

restitution and manner of payment. If an agreement cannot be reached, Government counsel will

request that a restitution hearing be scheduled.

                                          VI.      CONCLUSION

       Wherefore, for the foregoing reasons and others to be presented at the sentencing hearing,

counsel for the Government requests that the Court accept and bind itself to the plea agreement,

and impose a sentence of 420 months imprisonment. Government counsel believes that a sentence

of 420 months is sufficient, but not greater than necessary, pursuant to 18 U.S.C. § 3553(a), after

considering various factors relevant to the crimes of conviction and the defendant

       Finally, the Government informs defense counsel and the Court that the victim’s mother

may appear and present victim impact testimony at the sentencing hearing.



                                                Respectfully Submitted,

                                                Jonathan F. Lenzner
                                                Acting United States Attorney


                                          By: ____________________________
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                                             Erin B. Pulice
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                                                   4
          Case 8:20-cr-00229-PX Document 61 Filed 07/02/21 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 2nd day of July, 2021, the foregoing sentencing

memorandum was filed electronically and thus served on counsel for the defendant.


                                                 ___________________________
                                                 William D. Moomau
                                                 Assistant United States Attorney




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